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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


MANDY DEMPSEY,

       Plaintiff,

       v.
                                          Case No: 3:22-CV-00096
NATIONAL CREDIT ADJUSTERS,
LLC, LEE TYLER REMPEL, and
ELEVATE CREDIT, INC.,

       Defendants.


                COMPLAINT AND DEMAND FOR JURY TRIAL

      COMES NOW the Plaintiff, Mandy Dempsey (“Ms. Dempsey”), by and

through her attorneys, Seraph Legal, P.A., and complains of the Defendants,

National Credit Adjusters, LLC (“NCA”), Lee Tyler Rempel (“Rempel”), and

Elevate Credit, Inc. doing business as Rise Credit (“Rise”) (jointly “Defendants”),

stating as follows:

                         PRELIMINARY STATEMENT

      1.     This is an action brought by Ms. Dempsey against the Defendants for

violations of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

§1961, et. seq. (“RICO”), and the Florida Consumer Collection Practices Act,

Florida Statutes § 559.55, et. seq. (“FCCPA”), and against NCA and Rempel only
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for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq.

(“FDCPA”).

                          JURISDICTION AND VENUE

      2.     Subject matter jurisdiction for Plaintiff’s RICO and FDCPA claims

arises under 28 U.S.C. § 1331, as RICO and the FDCPA are federal statutes.

      3.     This Court has supplemental jurisdiction for Plaintiff’s State law

FCCPA claims under 28 U.S.C. § 1367.

      4.     The Defendants are subject to the jurisdiction of this Court pursuant

to Section 48.193, Florida Statutes and Fed. R. Civ. P. 4(k).

      5.     Venue is proper in the Middle District of Florida pursuant to 28 U.S.C.

§1391(b)(2), because the acts complained of were committed and / or caused by

the Defendants within the Middle District of Florida


                                     PARTIES

                                   Ms. Dempsey

      6.     Ms. Dempsey is a natural person who at all times relevant resided in

Hamilton County, Florida.

      7.     Ms. Dempsey is a Consumer as defined by the FDCPA, 15 U.S.C.

§1692a(3), the FCCPA, §559.55(8), Fla. Stat., and the FCRA, 15 U.S.C. §1681a(c).




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                                        NCA

         8.    NCA is a Kansas limited liability company with a principal business

address of 327 W 4th Street, Hutchinson, KS 67501.

         9.    NCA is registered to conduct business in the State of Florida, where

its registered agent is Corporation Service Company, 1201 Hays St., Tallahassee,

FL 32301.

         10.   NCA is licensed to collect consumer debts in the State of Florida,

holding Consumer Collection Agency (“CCA”) license number CCA0090486.

                                      Rempel

         11.   Rempel is the CEO and manager of NCA.

         12.   In his capacity as manager, Rempel is the individual responsible for

the determination of, and implementation of, NCA’s policies and procedures.

         13.   Rempel also participates directly in the day-to-day operations of

NCA, including the collection of consumer debts and the purchase of consumer

debts.

         14.   Upon information and belief, Rempel resides at 23 Prairie Dunes Dr.,

Hutchinson, KS 67502.

         15.   Rempel and NCA are debt collectors within the meaning of the

FDCPA, 15 U.S.C. § 1692a(6), and the FCCPA, § 559.55(7), Fla. Stat., in that the

Defendants use an instrumentality of commerce, including the U.S. mail and / or


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telephone, interstate and within the state of Florida, for their business, the

principal purpose of which is the collection of debts, and / or they regularly collect

or attempt to collect, directly or indirectly, debts owed or due or asserted to be

owed or due another.

                                                       Elevate

           16.      Elevate is a Delaware corporation with a principal business address

of 4150 International Plaza, Suite 300, Fort Worth, TX 76109.

           17.      Elevate’s Delaware registered agent is Corporation Service

Company, 251 Little Falls Dr., Wilmington, DE 19808.


                                        FACTUAL ALLEGATIONS

                                  Rise’s Illegal Loan to Ms. Dempsey

           18.      On or about August 10, 2019, Rise issued an installment loan (the

“Rise Loan” or “Debt”) to Ms. Dempsey.

           19.      The Loan had a stated principal amount of $3,000.

           20.      The Rise Loan was, purportedly, funded through FinWise, a small,

single-branch bank in Murray, Utah (the “Debt”).1

           21.      Rise wired the Loan to Ms. Dempsey’s bank account which she

maintains in Jasper, Florida, and payments were debited from that account.




1
    The bank has a small office in Sandy, UT and Garden City, NY, but has no retail branches at these locations.

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      22.    Ms. Dempsey used the Loan for personal, family, and household

purposes, and as such, the Loan, and any balance arising therefrom, meets the

definitions of Debt under the FCCPA, Florida Statutes § 559.55(6), and the FDCPA,

15 U.S.C. § 1692a(5).

      23.    The Loan carried an annual interest rate of 149%.

      24.    Section 687.071(3), Fla. Stat. renders loans made with annual interest

rates greater than 45% a third-degree felony.

      25.    Section 687.071(7), Fla. Stat. renders any loan in violation of § 687.701,

and any debt stemming from such extension of credit, void and unenforceable.

      26.    Ms. Dempsey’ Rise Loan was thus void ab initio.

      27.    The Rise Loan is therefore an unlawful debt under 18 U.S.C. § 1961(6).

      28.    Florida law prohibits any recovery of the principal on such loans.

               Rise Engages in Rent-a-Bank Scheme with FinWise

      29.    Rise is a Fort Worth, Texas-based FinTech company, lending to

consumers at interest rates illegal in the vast majority of states, including Florida.

      30.    One of the founders of Rise was Ken Rees (“Rees”) who was its CEO

until his resignation in July 2019.

      31.    Rees was previously the CEO of Think Finance, LLC (“Think

Finance”), which made similar illegal consumer loans at triple-digit interest rates.




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      32.      Initially, Think Finance “partnered” with the First Bank of Delaware

to launder its loans to create the appearance that they were issued by a state-

chartered bank, to avoid state usury laws.

      33.      In 2012, the First Bank of Delaware was stripped of its bank charter

and fined $15 million.

      34.      Rees thereafter partnered with the Chippewa Cree Tribe of the Rocky

Boy’s Indian Reservation in Box Elder, Montana and began laundering its loans –

now re-branded “Plain Green Loans” – through the Tribe, claiming the Tribe’s

sovereign immunity prevented civil and criminal action from being taken against

it. Such arrangement is often referred to as a “rent-a-tribe” scheme.

      35.      Plain Green’s loans charged interest rates of up to 400% annually.

      36.      After lawsuits filed against Think Finance by the Consumer Financial

Protection Bureau, the Pennsylvania Attorney General, and others, relating to the

wildly-usurious interest rates being charged by Plain Green, Rees formed Elevate

Credit, Inc.

                               Rise’s Business Model

      37.      In an effort to avoid state usury laws, Rise “partnered” with FinWise.

      38.      Pursuant to 12 U.S.C. § 85, FinWise is not subject to foreign state

interest rate limits, as Utah has no maximum legal interest rate in its state law, and,




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indeed, if FinWise were the actual lender in this matter, FinWise could charge any

reasonable interest rate on its loans.

      39.    However, FinWise was not the true lender of Ms. Dempsey’s

purported loan as Rise only launders its loans through FinWise.

      40.    Indeed, FinWise had virtually nothing to do with the marketing,

underwriting, servicing, collection, and post-charge-off sale to Defendant NCA.

      41.    Of particular importance, none of FinWise’s capital was ever at risk

under Rise’s loan.

      42.    In exchange for the use of its name, FinWise is paid a small portion of

the loan for its role in Rise’s lending.

      43.    At all times relevant, Elevate EF SPV (“EF SPV”), a Cayman Islands

special purpose vehicle which operates for the financial benefit of Elevate Credit,

had purchased a 96% interest in the receivables for the loans, including principal

and interest due.

      44.    This 96% ownership interest shows that EF SPV is the legal and

equitable owner of the receivables for the loans.

      45.    Elevate Credit is the primary beneficiary of EF SPV, and receives the

income generated from this 96% ownership interest.

      46.    Elevate Credit substantially controls and manages EF SPV and

absorbs any losses, insulating EF SPV and FinWise.


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         47.   Elevate Credit is the entity whose capital is at risk if a particular

consumer loan goes bad.

         48.   FinWise contributes, at most, a token 4% of the capital of any

consumer loan.

         49.   Thus, on information and belief, FinWise contributed $120 or less to

fund Ms. Dempsey’s loan, while Elevate Credit contributed $2,880 or more.

         50.   Elevate Credit protects EF SPV from Rise loan losses, placing the risk

of loss on Elevate Credit.

         51.   Similarly, FinWise’s economic interests are protected due to its

agreement with Elevate Credit, which includes a stipulation that EF SPV maintain

cash collateral in a FinWise account to secure its obligations to purchase the Rise

loans allegedly made “by” FinWise.

         52.   Elevate Credit, through ones of its subsidiaries, acts as the servicer for

the Rise loans, not FinWise.

         53.   Similarly, Elevate Credit reconciles the accounts, posts payments and

other credits to the accounts, and provides periodic billing statements to

consumers.

         54.   Elevate Credit, not FinWise, has the predominant economic interest

in loans made to consumers like Ms. Dempsey, and is thus the true lender of the

loans.


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      55.    As per Rise’s business model, once FinWise made the Loan to Ms.

Dempsey, it was immediately assigned to Rise.

      56.    Rise, not FinWise, then proceeded to attempt to collect the loan –

including the usurious interest – from Ms. Dempsey.

      57.     However, Rise, a non-bank assignee of the Rise Loan, had no legal

ability to collect the assessed interest.

      58.    Rise has been sued in the past for collection of unlawful debt and its

use of FinWise in its “rent-a-bank” schemes.

      59.    Rise thus knew, or should have known, that it had no legal authority

to collect the Loan from Ms. Dempsey.


                             Rise Reports Debt to CRAs

      60.    In an effort to ensure collection and encourage prompt payment, Rise

reported Ms. Dempsey’s Loan to the major Consumer Credit Reporting Agencies

(“CRAs”),    including     Experian,    monthly,      beginning   August   2019.   SEE

PLAINTIFF’S EXHIBIT A.

      61.    By May 2020, Rise had reported the account as an account charged to

profit and loss, a highly negative designation which has a severe impact on a

consumer’s credit score.




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        62.   Upon information and belief, Rise made multiple attempts to collect

the Debt from Ms. Dempsey in the last 24 months, including e-mail and postal

correspondence.

        63.   Each one of these attempts sought to collect an unlawful Debt from

Ms. Dempsey, i.e., the balance of a loan made at over 149% annual interest, and

accrued interest and fees on the loan.

         NCA Attempts to Collect Usurious Rise Loan from Ms. Dempsey

        64.   Around December 2020, Rise sold the loan to NCA.

        65.   NCA, in compliance with 15 U.S.C. § 1692g, mailed Ms. Dempsey a

collection letter, seeking to collect the Rise Loan.

        66.   In a similar effort to encourage prompt payment, NCA also reported

the purported debt to the major CRAs, including Experian, monthly, beginning

with February 2021. SEE PLAINTIFF’S EXHIBIT B.

        67.   NCA’s reports of the Rise Loan were communications as defined by the

FDCPA and were made in connection with the Rise Loan.

        68.   NCA certified to the CRAs that the debt was in collection, with $3,567

past due, thereby indicating that the Rise Loan was legitimate and lawful.

        69.   NCA knew, or should have known, that it was collecting an illegal

debt.




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      70.    On information and belief, NCA is a large debt buyer with a number

of experienced lawyers advising it regarding consumer protection statutes.

      71.    Further, NCA has been subject to multiple actions by state regulatory

authorities over its attempts to collect illegally-issued consumer loans.

      72.    For example, NCA was sued in July 2012 by the Arkansas State

Attorney General for collecting payday loans issued to Arkansas consumers in

violation of Arkansas law. As part of its settlement with the Attorney General,

NCA cancelled collection on $2.7 million in loans, and paid $200,000 to the State.

      73.    Over 100 other lawsuits have been filed against NCA for its collection

of consumer loans made under illegal terms.

      74.    NCA purchases a large volume of unlawful debt from lenders

including Rise, at a tiny fraction of face value, and then attempts to collect the full-

face value those debts from consumers like Ms. Dempsey.

      75.    On information and belief, NCA was in possession of the original loan

agreement documents creating the Debt at the time it attempted to collect the Debt,

and in any event it should have had such prior to seeking to collect the Debt.

      76.    On information and belief, the usurious interest rate was printed in

large, bold type on a Truth in Lending Act (“TILA”) disclosure on the loan

documents.




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      77.    Ms. Dempsey suffered severe emotional distress as a result of being

subjected to illegal collection actions by NCA concerning a loan which she does

not legally owe under Florida law.

      78.    Ms. Dempsey’s credit reports and scores have been severely and

adversely negatively impacted from NCA’s false reporting that she owes a debt in

excess of $3,500.

      79.    At all times relevant, Rempel, as CEO of NCA, instructed his agents

and employees to attempt to collect the Rise Loan from Ms. Dempsey.

      80.    At all times relevant, Rempel, as CEO of NCA, authorized the

purchase of bulk portfolios of debt from lenders including Rise, despite knowing

the loans had been made at usurious interest rates through dubious “rent-a-bank”

schemes.

      81.    Ms. Dempsey has hired the aforementioned law firm to represent her

in this matter and has assigned her right to fees and costs to such firm.




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                             COUNT I
              VIOLATIONS OF THE FDCPA – 15 U.S.C. § 1692e
                          (NCA & Rempel)

      82.   Ms. Dempsey hereby incorporates paragraphs 1 – 81 as if fully stated

herein.

      83.   Despite claims to the contrary, the Rise Loan was issued by an

unlicensed, non-bank entity, Rise, and charged an interest rate in excess of

Florida’s maximum statutory rate and is thus unenforceable against Ms. Dempsey.

      84.   NCA and Rempel violated 15 U.S.C. § 1692e when NCA used false

and deceptive representations in connection with the collection of a debt, by

indicating to Ms. Dempsey that she owed an amount that she did not owe, and

deceptively reporting the Loan as legal, valid, and enforceable, when it was not.

      85.   The above stated violations were committed pursuant to policies put

in place by Rempel and subject to his day-to-day oversight.

      86.   Rempel is therefore jointly and severally liable with NCA. See Fed.

Trade Comm'n v. Moses, 913 F.3d 297 (2d Cir. 2019).

      87.   Accordingly, NCA and Rempel are jointly and severally liable to Ms.

Dempsey for her actual damages, statutory damages, costs, and attorney’s fees

pursuant to 15 U.S.C. § 1692k.




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                             COUNT II
             VIOLATIONS OF THE FDCPA – 15 U.S.C. § 1692e2(a)
                          (NCA & Rempel)

      88.   Ms. Dempsey hereby incorporates paragraphs 1 – 81 as if fully stated

herein.

      89.   Despite claims to the contrary, the Rise Loan was issued by an

unlicensed, non-bank entity, Rise, and charged an interest rate in excess of

Florida’s maximum statutory rate and is thus unenforceable against Ms. Dempsey.

      90.   NCA and Rempel violated 15 U.S.C. § 1692e2(a) when NCA used

false and deceptive representations, regarding the legal status and amount of the

Debt, in connection with the collection of the Debt, by indicating to Ms. Dempsey

that she owed an amount which she did and deceptively identifying the Loan as

legal, valid, and enforceable, when it was not.

      91.   The above stated violations were committed pursuant to policies put

in place by Rempel and subject to his day-to-day oversight.

      92.   Rempel is therefore jointly and severally liable with NCA. See Fed.

Trade Comm'n v. Moses, 913 F.3d 297 (2d Cir. 2019).

      93.   Accordingly, NCA and Rempel are jointly and severally liable to Ms.

Dempsey for her actual damages, statutory damages, costs, and attorney’s fees

pursuant to 15 U.S.C. § 1692k.




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                             COUNT III
             VIOLATIONS OF THE FDCPA – 15 U.S.C. § 1692e(10)
                          (NCA & Rempel)

      94.   Ms. Dempsey hereby incorporates paragraphs 1 – 81 as if fully stated

herein.

      95.   The Rise Loan was issued by an unlicensed, non-bank entity, Rise,

and charged an interest rate in excess of Florida’s maximum statutory rate and is

thus unenforceable against Ms. Dempsey.

      96.   NCA and Rempel violated 15 U.S.C. § 1692e(10) when NCA used

false and deceptive representations in connection with the collection of a debt, by

indicating to Ms. Dempsey that she owed an amount that she did not owe, and

identifying the Loan as legal, valid, and enforceable, when it was not.

      97.   The above stated violations were committed pursuant to policies put

in place by Rempel and subject to his day-to-day oversight.

      98.   Rempel is therefore jointly and severally liable with NCA. See Fed.

Trade Comm'n v. Moses, 913 F.3d 297 (2d Cir. 2019).

      99.   Accordingly, NCA and Rempel are jointly and severally liable to Ms.

Dempsey for her actual damages, statutory damages, costs, and attorney’s fees

pursuant to 15 U.S.C. § 1692k.




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                            COUNT IV
             VIOLATIONS OF THE FDCPA – 15 U.S.C. § 1692f(1)
                          (NCA & Rempel)

      100.   Ms. Dempsey hereby incorporates paragraphs 1 – 81 as if fully stated

herein.

      101.   The Rise Loan was issued by an unlicensed, non-bank entity, Rise,

and charged an interest rate in excess of Florida’s maximum statutory rate and is

thus unenforceable against Ms. Dempsey.

      102.   NCA and Rempel violated 15 U.S.C. § 1692f(1) by attempting to

collect an amount which was not permitted by law, to wit, the Rise Loan.

      103.   The above stated violations were committed pursuant to policies put

in place by Rempel and subject to his day-to-day oversight.

      104.   Rempel is therefore jointly and severally liable with NCA. See Fed.

Trade Comm'n v. Moses, 913 F.3d 297 (2d Cir. 2019).

      105.   Accordingly, NCA and Rempel are jointly and severally liable to Ms.

Dempsey for her actual damages, statutory damages, costs, and attorney’s fees

pursuant to 15 U.S.C. § 1692k.




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                              COUNT V
             VIOLATIONS OF THE FCCPA, § 559.72(9) FLA. STAT.
                           (All Defendants)

      106.   Ms. Dempsey hereby incorporates paragraphs 1 – 81 as if fully stated

herein.

      107.   The Rise Loan was issued by an unlicensed, non-bank entity, Rise,

and charged an interest rate in excess of Florida’s maximum statutory rate and is

thus unenforceable against Ms. Dempsey.

      108.   The Defendants violated § 559.72(9) Fla. Stat. by attempting to enforce

the Rise Loan against Ms. Dempsey and by asserting the legal right to do so, when

they collected, and attempted collection of the loan via ACH withdrawals, emails,

and calls to Ms. Dempsey.

      109.   The Defendants’ actions were willful, intentional, and done for the

express purpose of collecting an unenforceable debt and profiting from it.

      110.   The Defendants each knew of the illegal nature of the Loan, as NCA

and Rempel have each had multiple prior lawsuits filed against them for

substantially similar collection attempts and Rise has gone to great lengths to

attempt to avoid Florida law through the use of a Rent-A-Bank scheme.

      111.   Accordingly, the Defendants are jointly and severally liable to

Plaintiff for their actual damages, statutory damages of up to $1000.00 per




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defendant, punitive damages, costs, and attorney’s fees pursuant to § 559.77 Fla.

Stat..

                                 COUNT VI
                     VIOLATIONS OF RICO, 18 U.S.C. § 1962(a)
                                 (Rise only)

         112.   Ms. Dempsey hereby incorporates paragraphs 1 – 81 as if fully stated

herein.

         113.   Rise and FinWise, through their joint operation and control of Rise

Credit, constitute an “enterprise” under RICO, 18 U.S.C. § 1961(4), as they had an

ongoing structure dividing responsibilities between them, for the purpose of

creating a fascade behind which Rise could issue usurious loans under the guise

of legality and which was established in a manner providing hierarchical decision

making to Rise which directed operations.

         114.   The loan issued by Rise Credit to Plaintiff charged an interest rate

far in excess of the legal rate under Florida law and, thus, the Loan constitutes an

unlawful debt under RICO, 18 U.S.C. § 1961(6).

         115.   Rise utilized the internet, telephone and mail to reach across state

lines in the operation of Rise Credit, including sending information through

collection calls, credit reporting, and ACH withdrawals and deposits to and from

Plaintiff’s bank account.




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      116.   Rise received income derived directly and indirectly from the

collection of Plaintiff’s Rise Loan.

      117.   Rise utilized a portion of the income derived from the collection of

Plaintiff’s unlawful loan to invest in the operation of the enterprise which affected

borrowers in interstate commerce.

      118.   Accordingly, Rise is liable to Plaintiff for treble her actual damages,

costs, and attorney’s fees pursuant to 18 U.S.C. § 1964(c).

                              COUNT VII
                   VIOLATIONS OF RICO, 18 U.S.C. § 1962(b)
                               (Rise only)

      119.   Ms. Dempsey hereby incorporates paragraphs 1 – 81 and 113 as if

fully stated herein.

      120.   The loan issued by Rise Credit to Plaintiff charged an interest rate

far in excess of twice the enforceable rate under Florida law and, thus, the Loan

constitutes an unlawful debt under RICO, 18 U.S.C. § 1961(6).

      121.   Rise utilized the internet, telephone and mail to reach across state

lines in the operation of Rise Credit, including through collection calls, credit

reporting, and ACH withdrawals and deposits to and from Plaintiff’s bank

account.

      122.   Rise received income derived directly and indirectly from the

collection of Plaintiff’s loan.


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      123.   Rise utilized a portion of the income derived from the collection of

Plaintiff’s unlawful loan to maintain its interest and control of the operations of

the enterprise.

      124.   Accordingly, Rise is liable to Plaintiff for her actual damages, treble

damages, costs, and attorney’s fees pursuant to 18 U.S.C. § 1964(c).

                              COUNT VIII
                   VIOLATIONS OF RICO, 18 U.S.C. § 1962(c)
                            (All Defendants)

      125.   Ms. Dempsey hereby incorporates paragraphs 1 – 81 and 113 as if

fully stated herein.

      126.   Likewise, Rise, together with NCA and Rempel, through their efforts

to collect the Rise Loan on behalf of Rise, constitute an “enterprise” under RICO,

18 U.S.C. § 1961(4).

      127.   The Rise Loan issued by Rise Credit to Plaintiff charged an interest

rate far in excess of twice the enforceable rate under Florida law and, thus, the Rise

Loan constitutes an unlawful debt under RICO, 18 U.S.C. § 1961(6).

      128.   The Defendants utilized the internet, telephone and mail to reach

across state lines in the operation of Rise Credit, including through collection calls,

credit reporting, and ACH withdrawals and deposits to and from Plaintiff’s bank

account.




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        129.   The Defendants each associated with the enterprise and participated

in the affairs of the enterprise through the collection of an unlawful debt – the Rise

Loan.

        130.   The Defendants’ participation in the enterprise affected interstate

lending / commerce, and violated § 1962(c) of RICO by causing Plaintiff to repay

an unlawful loan.

        131.   Accordingly, the Defendants are jointly and severally liable to

Plaintiff for her actual damages, treble damages, costs, and attorney’s fees

pursuant to 18 U.S.C. § 1964(c).

                                COUNT IX
                    VIOLATIONS OF RICO, 18 U.S.C. § 1962(d)
                             (All Defendants)

        132.   Ms. Dempsey hereby incorporates paragraphs 1 – 81 as if fully stated

herein.

        133.   The Rise Loan issued by Rise Credit to Plaintiff charged an interest

rate far in excess of twice the enforceable rate under Florida law and, thus, the Rise

Loan constitutes an unlawful debt under RICO, 18 U.S.C. § 1961(6).

        134.   The Defendants utilized the internet, telephone and mail to reach

across state lines in the operation of Rise Credit, including making collection calls,

credit reporting, and ACH withdrawals and deposits to and from Plaintiff’s bank

account.


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      135.        The Defendants violated § 1962(d) of RICO by conspiring with each

other, and other persons, to issue and collect Plaintiff’s unlawful Rise Loan and

other similar illegal loans in the form of a joint enterprise between them.

      136.        The Defendants each acted in furtherance of this conspiracy, (a)

issuing a usurious and thus illegal loan to Plaintiff; (b) initiating ACH deposits

and withdrawals to Plaintiff’s bank account; and, (c) attempting to collect the Rise

Loan through credit reporting, calls, and emails to Plaintiff.

      137.        Accordingly, the Defendants are jointly and severally liable to

Plaintiff for treble actual damages, costs, and attorney’s fees pursuant to 18 U.S.C.

§ 1964(c).

                                  PRAYER FOR RELIEF

                                    NCA and Rempel

      WHEREFORE, Plaintiff requests that the Court enter judgment against

NCA and Rempel, jointly and severally, for:

             A.     Treble Actual damages of $7,416, plus attorney fees and court

                    costs, pursuant to 18 U.S.C. §1964(c);

             B.     Actual damages of $2,472 plus statutory damages of $1,000 and

                    attorney fees and costs pursuant to Florida Statutes § 559.77(2);

             C.     Actual damages of $2,472 plus statutory damages of $1,000

                    pursuant to 15 U.S.C. § 1692k(a)(2)(A);


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         D.    An award of pre-judgment and post-judgment interest as

               provided by law;

         E.    An award of attorneys’ fees, litigation expenses, and costs of suit

               as provided under the foregoing statutes; and,

         F.    Such other relief as the Court deems just and proper.


                                      Rise

       WHEREFORE, Plaintiff requests that the Court enter judgment against Rise

for:

         A.    Treble Actual damages of $7,416, plus attorney fees and court

               costs, pursuant to 18 U.S.C. §1964(c);

         B.    Actual damages of $2,472 plus statutory damages of $1,000 and

               attorney fees and costs pursuant to Florida Statutes § 559.77(2);

         C.    An award of pre-judgment and post-judgment interest as

               provided by law;

         D.    An award of attorneys’ fees, litigation expenses, and costs of suit;

         E.    Such other relief as the Court deems just and proper.




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                         DEMAND FOR JURY TRIAL

      Ms. Dempsey hereby demands a trial by jury on all issues so triable.


Respectfully submitted on January 26, 2022, by:

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                         ATTACHED EXHIBIT LIST

A     Experian Report, January 18, 2022, Rise Loan Tradeline - Excerpt
B     Experian Report, January 18, 2022, NCA Tradeline - Excerpt




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